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                            EXHIBIT A
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                        Transcript of Interview with Samuel Brockett
    Audio Recording of Interview Attached as Exhibit A to the Declaration of Samuel Brockett

  INVESTIGATOR:              Okay, date is January 25th, 2019. The time is 12:34 PM.
                             Student’s name is Sam Brockett, B-R-O-C-K-E-T-T. And we are
                             at Covington Catholic High School. OK. Sam, I’ve already told
                             you we’re recording this, and you are aware of that, is that correct?

  SAMUEL BROCKETT:           Yes.

  INVESTIGATOR:              Okay. You ever been involved anything like this before?

  SAMUEL BROCKETT:           Not really, no.

  INVESTIGATOR:              It’s crazy, isn’t it?

  SAMUEL BROCKETT:           Yes, a first for me.

  INVESTIGATOR:              OK. Regarding this whole incident here. Why did you – leave
                             Kentucky to go to Park Hills? – er, to Washington DC?

  SAMUEL BROCKETT:           ‘Cause, I didn’t really go for the March. I went because they
                             offered us 25 service hours in a bus ride over to DC. We had to
                             pay so it wasn’t free, but it was still a bus ride. I need a certain
                             amount of service hours to graduate, so – 25 is a large chunk.

  INVESTIGATOR:              So when you got there, you didn’t actually go to the March? Or
                             did you?

  SAMUEL BROCKETT:           No, I wasn’t at the March, no.

  INVESTIGATOR:              Okay. So have you ever been up there before?

  SAMUEL BROCKETT:           Yeah, this was my second time, I went last year too.

  INVESTIGATOR:              For the rally, or for service hours?

  SAMUEL BROCKETT:           Service hours, but the trip’s for the rally. I just had to go on.

  INVESTIGATOR:              So were you around Lincoln Memorial when all this stuff up there,
                             you were there though.

  SAMUEL BROCKETT:           Yeah, yeah I was there, yeah.

  INVESTIGATOR:              OK. Did you ever get any kind of training or – anything for
                             dealing with protesters or anything? Anybody ever tell you how to
                             handle that?
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  SAMUEL BROCKETT:        Not really, not beforehand. At least. They didn’t really tell us what
                          to expect or how to handle it.

  INVESTIGATOR:           Do you have any MAGA gear?

  SAMUEL BROCKETT:        No, I didn’t.

  INVESTIGATOR:           You didn’t take any with you? Didn’t buy anything there?

  SAMUEL BROCKETT:        I don’t – no. Nope.

  INVESTIGATOR:           What time did you get to Lincoln Memorial?

  SAMUEL BROCKETT:        I think it was about, was about an hour before they told us we had
                          to meet up there ‘cause they said –

  INVESTIGATOR:           Which was what?

  SAMUEL BROCKETT:        I can’t remember. I think they said 5:30, so like we got there
                          around 4:30, 4:45.

  INVESTIGATOR:           What did you see?

  SAMUEL BROCKETT:        So we were told that we had to meet up there, wait for the buses,
                          so we all gathered together in a big group waiting on the buses
                          which meant that, you know, there’s a bunch of us all together and
                          it looked like a crowd and stuff and, it was unfortunate that they
                          were – the Hebrew Israelites were like, also like, having their little
                          protests, like right next to where were gathering. So the kids, like,
                          they didn’t form there to, you know, to be around the Hebrew
                          Israelites, they’d formed there because that’s where we were told
                          to meet up to leave so, eventually they started turning their
                          attention towards us, ‘cause we were starting to gather up and grow
                          as a group, and obviously, with all of the MAGA hats on in that
                          group, we were kind of an easy target, they knew exactly where we
                          stood on the, you know, where our politics stood and stuff, so they
                          started saying stuff to us. And then we responded back with, like,
                          cheers and stuff, instead of just leaving it, you know. One time we
                          were doing –

  INVESTIGATOR:           Did you see the – was Phillips in that group?

  SAMUEL BROCKETT:        So I got – I wasn’t –

  INVESTIGATOR:           See that when you first got there?

  SAMUEL BROCKETT:        I was there at the Lincoln Memorial before that happened –


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  INVESTIGATOR:           Right.

  SAMUEL BROCKETT:        – but –

  INVESTIGATOR:           When you were there. When you first got there.

  SAMUEL BROCKETT:        Right.

  INVESTIGATOR:           You saw the other students waiting for buses.

  SAMUEL BROCKETT:        Mhm.

  INVESTIGATOR:           And you saw the Israelites.

  SAMUEL BROCKETT:        Mhm. And then the Native American thing was at the very end–

  INVESTIGATOR:           And you saw when –

  SAMUEL BROCKETT:        – When they were all in their circle, yeah, and then that one ended.
                          And when all of it kind of started happening, I quickly left like my
                          school group with a couple of other friends. Because I didn’t really
                          want to be involved with that, I didn’t support what, you know,
                          they were doing and what they – you know, all of that, so I kind of
                          got out and I got to the other side of the Hebrew Israelites. So I got
                          about as far away as I could, but I still watched it happen. I was
                          still watching. And so there’s a lot of people between me and the
                          thing, so I didn’t directly see the Nathan Phillips and the
                          Sandmann thing, but I heard it, like, I heard the drum, and I heard
                          that there was stuff going on, and I saw all the cheering and
                          everything, I was watching it right there. But I didn’t directly see
                          where.

  INVESTIGATOR:           So when did this, students, the chanting and cheering start?

  SAMUEL BROCKETT:        When – Started when they were – after they said some stuff to us.
                          They said some things, the Hebrew Israelites did. And we
                          responded back. And then no one stopped us.

  INVESTIGATOR:           OK, so were you part of the cheering crowd, no?

  SAMUEL BROCKETT:        No. When I say we, I mean the school. I was out of it and just
                          watching from the side. But yeah, the students – where they didn’t
                          start it, but they didn’t leave it be, they decided to respond.

  INVESTIGATOR:           So after the name callings, they started chanting –

  SAMUEL BROCKETT:        Yeah, kind of a, I don’t know why they did it, because I wasn’t in
                          the group. I don’t know if they did it to drown out the stuff that

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                          they were saying, or if they were doing it as a direct, like – you
                          know –

  INVESTIGATOR:           Were you there when the name calling started? Excuse me.

  SAMUEL BROCKETT:        Like – at –

  INVESTIGATOR:           The Israelites, yeah.

  SAMUEL BROCKETT:        Yeah, I, I, yeah, I saw some of that.

  INVESTIGATOR:           Did you hear any of that?

  SAMUEL BROCKETT:        Yeah, I heard a lot of that.

  INVESTIGATOR:           What kind of names did you hear them call you?

  SAMUEL BROCKETT:        Call us? A lot of things, like peckerwood, stuff like that, a lot of
                          racist terms towards us, and they said some things towards a
                          couple of our African-American students, because they were at the
                          school, like they called them Kanye West and referenced like “Get
                          Out,” the movie, and stuff like that.

  INVESTIGATOR:           What was that again? They were saying?

  SAMUEL BROCKETT:        They called a couple of our African-American students things like
                          Kanye West and stuff, and said that we were going to harvest their
                          organs when we got home, referencing the “Get Out” movie, the
                          horror movie. And I heard one of our students yell back at him and
                          ask, “Can you even read?” which I don’t know where it came from
                          or why he said that, I don’t know if it was meant to be racist or not,
                          but, you know. I heard, we were going when Nathan Phillips came
                          up, started doing the tomahawk thing at ‘em, which some people
                          could see as offensive. And I didn’t think it was a good idea to,
                          you know, do that one in particular directly at a Native American.

  INVESTIGATOR:           Was there any interaction like that with the Native Americans?
                          Phillips and all that, Mr. Phillips?

  SAMUEL BROCKETT:        The tomahawk chant and what was in the video with Sandmann.
                          Well, I was there for that, but I’d heard, I wasn’t there. I heard that
                          earlier at the memorial when the Native Americans –

  INVESTIGATOR:           Were they saying something to you guys?

  SAMUEL BROCKETT:        The Native Americans? I heard that earlier when I wasn’t there,
                          they were saying stuff to us, but I didn’t witness it. That’s just
                          what I’ve been told.

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  INVESTIGATOR:           This is what I need to know, is just what you –

  SAMUEL BROCKETT:        What I saw? Yeah.

  INVESTIGATOR:           Particularly you. And not hearsay, but, you know –

  SAMUEL BROCKETT:        Right, what I witnessed. I didn’t witness the Native Americans
                          saying anything directly at us, but the Hebrew Israelites did, not
                          the Natives.

  INVESTIGATOR:           You say you were involved in some of the cheers, or not?

  SAMUEL BROCKETT:        No, I didn’t participate in any of the cheers or any of it.

  INVESTIGATOR:           OK. Do you know if anybody asked the chaperones if they could
                          do the cheers?

  SAMUEL BROCKETT:        I’m not sure, but from where I was standing, I could see two
                          teachers and a couple parents that were chaperoning, and they were
                          just kind of standing back there and not intervening, which I
                          thought that they should have, at least to, you know, stop it from
                          escalating, but I saw ‘em up there not really doing anything about
                          it. I didn’t really know why.

  INVESTIGATOR:           When you went last year, were protesters down there then?

  SAMUEL BROCKETT:        No, not – not like this year, there weren’t people protesting at the
                          Lincoln Memorial. I don’t remember us doing chants or anything
                          like that either.

  INVESTIGATOR:           Did any of that scare you, or – ?

  SAMUEL BROCKETT:        I mean –

  INVESTIGATOR:           What did you think? Or how did you feel when you got home?

  SAMUEL BROCKETT:        It scared me when I was there because I don’t know. I see two
                          really divided groups, divided by race, divided by political views
                          and stuff. Kind of. They’re yelling some aggressive stuff at us, and
                          we’re being really energetic in, like, our cheers and, like, jumping
                          up and down and stuff, and from an outside perspective where I
                          was standing watching it, I was kind of afraid that it was going to
                          break out into like a fight or something or, I didn’t know – I knew
                          that no one in our group had a gun, but I didn’t know if anyone
                          else had a gun. So I was scared there, and then when I got home, I
                          was more scared of the school that I go to’s reputation has now
                          been damaged, and schools, like, colleges might, you know,
                          second guess, you know, enrolling CovCath students, even though

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                          I wasn’t involved, I still graduated from here, so it might hurt my
                          college chances and other chances like that, just because I’m –
                          because I attend the school, I’m directly associated with it.

  INVESTIGATOR:           Right. Did you have a phone with you?

  SAMUEL BROCKETT:        A phone? Yeah, I did.

  INVESTIGATOR:           Did you take any video?

  SAMUEL BROCKETT:        I didn’t, no.

  INVESTIGATOR:           Do you remember what time the bus got there? What time it was
                          scheduled was 5:30, did you say?

  SAMUEL BROCKETT:        They told us to meet at 5:30. I think the bus was supposed to be
                          there at 6. So I’m not sure. If – I didn’t check the time when the
                          bus actually got there. But they told us to leave the area after, after
                          all that had happened and it had gone on for too long, the
                          chaperones eventually told us to, you know, go to the bus. So we
                          thought the buses were there, but the buses weren’t actually there,
                          so we left and then we had to wait for the buses at a different place
                          for a few minutes. But after a while they did, the chaperones did
                          tell us to leave and broke it up. Eventually.

  INVESTIGATOR:           Where were you standing or hanging in relation to Sandmann or
                          Phillips?

  SAMUEL BROCKETT:        I was – so Sandmann is looking at Phillips, Phillips is looking at
                          Sandmann, and I was behind Phillips. Back out of the group. And I
                          couldn’t actually see the interaction. I knew something was going
                          on, but I couldn’t directly see the faces and, like, see everything. I
                          heard the drum and everything, but I was back away from my
                          school’s group because I didn’t want to really be involved with it,
                          so.

  INVESTIGATOR:           Was any of the students harassing anybody in the other groups?

  SAMUEL BROCKETT:        Not directly saying terms, but the cheering and stuff seemed like it
                          was a little bit not smart to do, by them, and I didn’t understand
                          why they were doing it, but I don’t think it was – they weren’t
                          directly saying things or calling names or stuff like that.

  INVESTIGATOR:           Were you aware of the harassment by the Hebrews?

  SAMUEL BROCKETT:        Mhm.

  INVESTIGATOR:           Hebrew Israelites?

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  SAMUEL BROCKETT:        Yeah, I heard everything that they were saying towards us. And it
                          went on for a pretty long time, that they were there and targeting us
                          and saying stuff, or targeting my school, I should say, they weren’t
                          targeting me because I wasn’t in the group, but they were targeting
                          the group of kids wearing the MAGA hats for 5, 10 minutes at
                          least. A lot.

  INVESTIGATOR:           So everything you heard was all derogatory towards the school.

  SAMUEL BROCKETT:        It wasn’t just towards us – so it was towards other people as well,
                          but we were one of the targets. He was also yelling at this one guy
                          on a, like a electric skateboard thing who was riding around then
                          like in circles. He was yelling at him to get away and he was like
                          spitting at the guy who was riding around on the skateboard, and
                          then he was yelling stuff at us and –

  INVESTIGATOR:           Main guy with the Israelites?

  SAMUEL BROCKETT:        Yeah, ‘cause there’s only one guy that was really yelling, and then
                          there’s like three or four people that were videotaping.

  INVESTIGATOR:           So the unknown person was on a –

  SAMUEL BROCKETT:        Like a – a electric –

  INVESTIGATOR:           – A mechanized scooter – skateboard –

  SAMUEL BROCKETT:        Yeah, like a, like skateboard kind of thing, and he had like a bike
                          helmet on so we couldn’t actually see his face. He was playing
                          music, and they thought that he was riding too close to them so he
                          was – the Hebrew Israelite was yelling at him to back up and stuff
                          and was actually like spitting at him. Called him a dirty Puerto
                          Rican.

  INVESTIGATOR:           Any questions or anything like that?

  SAMUEL BROCKETT:        What would – like – since my name is on like this and everything
                          like what would this be used for? With my name?

  INVESTIGATOR:           It’s going on a report that goes to the Bishop.

  SAMUEL BROCKETT:        OK. Alright.

  INVESTIGATOR:           But we’re not gonna release it.

  SAMUEL BROCKETT:        Okay, that’s fine.




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  INVESTIGATOR:           If it gets released, it would be through some subpoena or
                          something, from the Bishop, I imagine.

  SAMUEL BROCKETT:        OK.

  INVESTIGATOR:           It won’t be public.

  SAMUEL BROCKETT:        Alright.

  INVESTIGATOR:           Alright. Okay. Time is 12:56 PM. We’re ending this interview
                          with MS-6.




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